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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

ASSUMPTA SMALL,                              §
                                             §
              Plaintiff,                     §
                                             §
v.                                           §         Civil Action No. 3:18-CV-02664-E
                                             §
SWALM & ASSOCIATES, PC,                      §
                                             §
              Defendant.                     §

                                         ORDER

        Before the Court is Defendant’s Motion for Summary Judgment (Doc. 19). After

careful consideration of the motion, the response, the reply, the supporting appendices, the

applicable law, and any relevant portions of the record, the Court concludes genuine issues

of material fact exist for the fact finder to determine, making summary judgment

inappropriate. The Court DENIES Defendant’s motion for summary judgment.

        SO ORDERED.
        Signed March 4, 2020.

                                          ______________________________________
                                          ADA BROWN
                                          UNITED STATES DISTRICT JUDGE




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